      Case 21-03067-sgj Doc 174 Filed 07/06/23 Entered 07/06/23 16:46:40 Desc Main
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BTXN 049 (rev. 03/15)
                                       UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS


In Re:                                                       §
Highland Capital Management, L.P.                            §
                                                             §    Case No.: 19−34054−sgj11
                                           Debtor(s)         §    Chapter No.: 11
Charitable DAF Fund, LP et al.                               §
                                     Plaintiff(s)            §    Adversary No.:      21−03067−sgj
      vs.                                                    §
Highland Capital Management, LP et al.                       §    Civil Case No.:
                                     Defendant(s)            §
                                                             §
Charitable DAF Fund, L.P. and CLO Holdco, Ltd.               §
                                    Appellant(s)             §
      vs.                                                    §
Highland Capital Management, L.P.                            §
                                    Appellee(s)              §
                                                             §
                                                             §


                                          NOTICE OF TRANSMITTAL
I am transmitting:

                The Motion for leave to Appeal 28 U.S.C. § (USDC Civil Action No. DNC Case).
                The Motion for Stay Pending Appeal (USDC Action No. − DNC Case).
                The Proposed Findings of Fact and Conclusions of Law.
                The Motion to Extend Time To File Designation (USDC Civil Action No DNC Case).
                On , the Record on Appeal was transmitted. The designation of record or item(s) designated by
                were not filed when the record was transmitted. The item(s) were filed on awaiting instructions
                from the assigned district judge.
                Other
                Copies of: Notice of appeal, appealed order [167] and supporting documents

TO ALL ATTORNEYS: File all subsequent papers captioned and numbered with the appropriate division of the
United States District Clerk's Office. Any questions concerning this proceeding should be directed to the U.S. District
Clerk's Office at (214) 753−2200.



DATED: 7/6/23                                     FOR THE COURT:
                                                  Robert P. Colwell, Clerk of Court

                                                  by: /s/Sheniqua Whitaker, Deputy Clerk
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BTXN 116 (rev. 07/08)
                                 UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF TEXAS




                                         APPEAL SERVICE LIST
                                         Transmission of the Record
BK Case No.: 19−34054−sgj11

Adversary No.: 21−03067−sgj

Received in District Court by:

Date:

Volume Number(s):

cc: Stacey G Jernigan
    Courtney Lauer
    Caroline Nowlin
    Attorney(s) for Appellant
    US Trustee




Appellant Charitable DAF Fund, L.P. and CLO Holdco, Ltd.
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Appellee Highland Capital Management, L.P.

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BTXN 150 (rev. 11/10)
In Re:                                                                                §
Highland Capital Management, L.P.                                                     §
                                                                                      §           Case No.: 19−34054−sgj11
                                                            Debtor(s)                 §           Chapter No.: 11
Charitable DAF Fund, LP et al.                                                        §
                                                            Plaintiff(s)              §           Adversary No.: 21−03067−sgj
      vs.                                                                             §
Highland Capital Management, LP et al.                                                §
                                                            Defendant(s)              §



                                                               CIVIL CASE COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of
Court for the purpose of initiating the civil docket sheet.

             I. (a) APPELLANT                                                                     APPELLEE
                    Charitable DAF Fund, L.P. and CLO Holdco, Ltd.                                Highland Capital Management, L.P.
                 (b) County of Residence of First Listed Party:                                   County of Residence of First Listed Party:
                     (EXCEPT IN U.S. PLAINTIFF CASES)                                             (IN U.S. PLAINTIFF CASES ONLY)
                 (c) Attorney's (Firm Name, Address, and Telephone Number)                        Attorney's (If Known)
                     SBAITI & COMPANY PLLC                                                        PACHULSKI STANG ZIEHL & JONES LLP
                     Mazin A. Sbaiti                                                              Jeffery N. Pomerantz (CA Bar No. 143717)
                     Jonathan Bridges                                                             John A. Morris (NY Bar No. 2405397)
                     J.P. Morgan Chase Tower                                                      Gregory V. Demo (NY Bar No. 5371992)
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                                                                                                  And

                                                                                                  Hayward & Associates PLLC
                                                                                                  Melissa S. Hayward
                                                                                                  Zachery Z. Annable
                                                                                                  10501 N. Central Expressway, Suite 106
                                                                                                  Dallas, TX 75231
                                                                                                  Telephone: (972) 755−7100


             II. BASIS OF JURISDICTION
                                                                                                        Federal Question                   Diversity
                          U.S. Government                    U.S. Government
                                                                                                        (U.S. Government                   (Indicate Citizenship
                  1       Plaintiff                  2       Defendant                        3                                     4
                                                                                                        Not a Party)                       of Parties in Item III)


             III. CITIZENSHIP OF PRINCIPAL PARTIES
                                                                                   Incorporated or Principal Place
             Citizen of This State
                                                      1                    1       of Business In This State                               4                 4
                                                                                   Incorporated and Principal Place
             Citizen of Another State
                                                      2                    2       of Business In Another State                            5                 5
             Citizen or Subject of a
                                                                                   Foreign Nation
             Foreign Country                          3                    3                                                               6                 6


             IV. NATURE OF SUIT

                  422 Appeal 28 USC 158                       423 Withdrawal 28 USC 157                            890 Other Statutory Actions


             V. ORIGIN
                                                            Removed from State                                                                     Reinstated or
                        Original Proceeding                                                       Remanded from Appellate Court
                  1                                  2      Court                         3                                                    4   Reopened
                        Transferred from                    Multidistrict                         Appeal to District Judge from
                  5     another district             6      Litigation                    7       Magistrate Judgment


             VI. CAUSE OF ACTION
             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
             422 Appeal 28 USC 158
             Brief description of cause:
             Notice of appeal of a bankruptcy court order


             VII. REQUESTED IN COMPLAINT:
                        CHECK IF THIS IS A CLASS ACTION UNDER F.R.C.P. 23                          DEMAND $
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                                                                   CHECK YES only if demanded in complaint:

                                                                   JURY DEMAND:          Yes      No


  VIII. RELATED CASE(S) IF ANY
  Judge:                                      Docket Number:


  DATED: 7/6/23                  FOR THE COURT:
                                 Robert P. Colwell, Clerk of Court
                                 by: /s/Sheniqua Whitaker, Deputy Clerk
